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                                                                                                          JOHN F. WARREN
     Case 3:23-cv-00769-N Document 1-2 Filed 04/11/23                   Page 1 of 27 PageID 7              COUNTY CLERK
                                                                                                          DALLAS COUNTY


                                                                       483-C
                                                  CAUSE N 0000-23-01

Jeffrey W. Carpenter,




                                                      §§§§§§§§§
     Plaintz'ﬂ,
                                                                  In the County Court
v.
                                                                  At Law N°
Twin City Fire Insurance Company,
                                                                  Dallas County, Texas
     Defendant.




                       ORIGINAL PETITION AND JURY DEMAND




                                           DISCOVERY PLAN

         1.       Jeff Carpenter intends discovery to be conducted under Level 3 of Texas Rule
of Civil Procedure 190.


                       INTRODUCTION AND NOTICE OF RELATED CASE:
                           DALLAS COUNTY COURT AT LAW NO. 5

         2.       This case appears to be a related case as described in Local Civil Rules 1.06,

1.07 (a), and maybe 1.07 (d).1 It arises out of an earlier jury verdict and judgment in favor of


Jeff Carpenter in Dallas County Court at Law No. 5, Cause Number CC—08-2072-E, styled


1
 Local Civ. R. 1.06 (“ pending case is so related to another case previously ﬁled in or disposed
of by another Court of Dallas County that a transfer of the later case to such other Court would
facilitate orderly and efﬁcient disposition of the litigation    ”); Local Civ. R. 1.07(a) (“Any case
arising  out of the same transaction or  occurrence    as an earlier case ....”); Local Civ. R. 1.07(d)
(“Any suit concerning which the duty of an insurer to defend was involved in the earlier suit. ”).

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                                                                                                            B
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Jeﬁgi W. Carpenter v. Southwest Housing Development Company, Inc., Southwest Housing
Management Corporation, Inc. a/le/a and d/b/a Southwest Housing Management Company,

Inc., Aﬁora'able Housing Construction, Inc., and Brian Potashni/e.



        3.      In that earlier case, defendants’ liability insurance carrier rejected a reasona-

ble opportunity to settle for less than remaining policy limits. It did so even though policy

limits were eroding toward zero with every penny of litigation costs and every dollar of

attorneys’ fees. Ultimately, four of its insureds were hit with an adverse jury verdict and a

judgment that exceeded remaining policy limits by around $2 million.


        4.      The defendant insureds appealed to the Fifth Court of Appeals and the Texas

Supreme Court but were not successful. The judgment was affirmed and remains unsatis-

ﬁed. Dallas County Court at Law No. 5 ordered turnover of the defendant insureds’ com-

mon law Stowers claim against their liability insurance carrier, along With associated rights

and privileges, to Jeﬁ Carpenter. The present case involves that Stowers claim.



                                                  PARTIES

        5.      Twin City Fire Insurance Company is licensed to conduct multiple lines of

insurance business in Texas, according to the Texas Department of Insurance. It was li-

censed to conduct business in Texas, and did conduct business in Texas, at the time the

claims asserted herein accrued. It may be served with process through its registered agent

in Texas as follows:




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                                        CT Corporation System
                                            1999 Bryan Street
                                               Suite 900
                                          Dallas, Texas 75201


         6.     Jeff Carpenter is an individual who resided in Dallas County, Texas at the
time the claims asserted herein accrued and who continues to reside in Dallas County,

Texas.

                                             JURISDICTION

         7.     The Court has subject matter jurisdiction over this case because (1) Jeff Car-

penter seeks damages within its jurisdictional limits and (2) the asserted claims are not sub-

ject to exclusive jurisdiction in any other court.


         8.     The Court has personal jurisdiction over Twin City Fire Insurance Company

(“Twin City”) because (1) the asserted claims arose directly from Twin City’s acts and
omissions in Texas, and (2) Twin City’s afﬁliations with Texas are so continuous and sys-

tematic that Twin City is “ essentially at home ” in Texas.



                                                  VENUE

         9.     Venue is proper under Texas Civil Practice and Remedies Code §

15.002(a) (1) because all or a substantial part of the events and omissions giving rise to the

asserted claims occurred in Dallas County, Texas. This case involves a liability insurance




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company’ s negligence in Dallas County, Texas in rejecting a reasonable opportunity to set-

tle within policy limits. It involves a jury verdict and judgment in Dallas County, Texas


against the defendant insureds in excess of policy limits.


                                 SOME SIOWERS FUNDAMENTALS

                            basic negligence duty and reason for rule

         10.    When insurance companies have the right to control settlement of claims

against their insureds, they owe their insureds a Stowers duty. The Stowers opinion explains

that the insurance company is:2


           held to that degee of care and diligence which an ordinarily
           prudent person would exercise in the management of his
           own business; and if an ordinarily prudent person, in the
           exercise of ordinary care, as viewed ﬁ'om the standpoint of
           the assured, would have settled the case, and failed or
           refused to do so. then the agent. which in this case is the
           indemnity company, should respond in damages.


This duty sounds in negligence, has been around for almost a century, and is similar to

other areas of law in which a right of control gives rise to a legal duty?



2
    G.A. Stowers Furniture Co. v. Am. Indem. 00., 15 S.W.2d 544, 547 (Tex. Comm’n App. 1929,
holding approved).

 See, e.g., Chapman Custom Homes, Inc. v. Dallas Plumbing Ca, 445 S.W.3d 716, 718 (Tex. 2014)
3



(“Having undertaken to install a plumbing system in the house, the plumber assumed an implied
duty not to ﬂood or otherwise damage the [] house while performing its contract with the
builder.”).

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        11.       The ultimate issue in a Stowers case is whether a settlement offer is such that

an ordinarily prudent insurer would accept it, considering the likelihood and degree of the

insured’s potential exposure to a judgment higher than the policy limits. The Stowers neg-

ligence standard is ﬂexible and depends on context. Here is an example. The Stowers duty

usually arises only with a settlement offer within policy limits. But it may also arise with a

settlement offer above policy limits when the insured agrees to pay the excess.“



        12.       The Stowers duty is born of insurance companies who want to save money for

themselves to the detriment of insureds. If a policy limit is the maximum insurance com-

              — whether a case settles or                   — then
pany risk                                   goes to trial    ,       why settle at all? Why not gamble

the insured’s personal ﬁnances and take a chance at trial? Even if odds of a defense win are

slim. Even if trial could expose the insured to damages higher than policy limits.



                         insurer excuses: coverage dispute is no excuse

        13.       Sometimes an insurance company admits a duty to defend but decides there

is no indemnity coverage and so rejects a reasonable settlement offer within policy limits.

In those situations, the insurance carrier “risks signiﬁcant potential liability for bad-faith

insurance practices [Stowers] if it does not ultimately prevail in its coverage contest. ”5


4
 Am. Physicians Ins. Exch. v. Garcia, 876 S.W.2d 842, 849 n.13 (Tex. 1994) (“We do not reach the
question of when, if ever, a Stowers duty may be triggered if an insured provides notice of his or her
willingness to accept a reasonable demand above the policy limits, and to fund the settlement, such
that the insurer’s share of the settlement would remain within the policy limits. ”).

5
 Excess Underwriters at Lloyds, London v. Fran/e ’s Casing Crew 5’ Rental Tools, Inc. , 246 S.W.3d 42,
46 (Tex. 2008).


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When it comes to the Stowers duty, the insurance carrier “bear[s] the risk that its point of

View [on coverage] might have been incorrect, which could result in liability for any excess

              ”6
judgment.


        14.        So, a good faith dispute about insurance coverage is not a defense to Stowers

liability. Reasonable doubt about insurance coverage is not a defense. Uncertainty about

insurance coverage is not a defense. That a reasonable liability insurance carrier would con-

test coverage is not a defense. A mistaken belief that there is no coverage is not a defense.



                       insurer excuses: not knowing all facts is no excuse

        15.        Not knowing all the facts, or even most of the facts, does not mean there is

no Stowers duty.7 The question is whether, based on facts the insurer knew or should have

known at the time, a settlement offer is such that an ordinarily prudent insurer would accept

it, considering the likelihood and degree of the insured’s potential exposure to a judgment

higher than the policy limits.




6Am. Physicians Ins. Exch. v. Garcia, 876 S.W.2d 842, 850 (Tex. 1994).

7
 Bmmlett v. Med. Protective Co. ofFort Wayne, Ind, C.A. No. 3:10-CV—2048-D, n.10 (N .D. Tex.
March 5, 2013) (citing references omitted) (“There is no per se requirement that an insurer know
all, or even most, of the facts of the case in order to have a Stowers duty. ”).



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               ABBREVIATED BACKGROUND: THE LIABILITY INSURANCE POLICY

                               Twin City Fire Insurance Company


                                           It:
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                                                     I        "I!
                                                                     44
                                                              I":




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                                          THE HARTFORD
                                          FINANCIAL
                                          mow ICC.
                                          wonu:           '
                                          HEADOUARTERS

                                                                    A?




         16.     The Hartford Financial Services Group, Inc. operates through subsidiaries

under the brand name 77w Hartford. Twin City Fire Insurance Company (“Twin City”) is

one of those subsidiaries and uses The Hartford brand. It is part of the Hartford Fire 8c


Casualty Group and is licensed to conduct multiple lines of insurance business in Texas.


                                          the named insureds

         17.     Twin City issues a liability insurance policy under which named insureds in-

clude all the defendants in the earlier case:




    photograph credit: www.vacuumglassllc.com/the-hartford
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                  defendant insureds                                                 abbreviated name

        Southwest Housing Development                                                SH Development
                Company, Inc.

      Affordable Housing Construction, Inc.                                          AH Construction

        Southwest Housing Management                                                  SH Management
     Corporation, Inc. a/le/a and d/b/a South-
      west Housing Management Company,
                        Inc.

                    Brian Potashnik                                                           Brian

                   Cheryl Potashnik                                                          Cheryl


                                     control over defense and settlement

          18.      Twin City controls the defense of its insureds? It also controls settlement of

claims against its insureds. It forbids its insureds, under any circumstances, from entering


any settlement agreement without its prior written consent?“



           (C) The Insureds shall not admit nor assume any liability, enter into any settlement agreement, stipulate lo
               any judgment. or incur any Defense Costs regarding any Claim without the prior written consent of the
               Insurer, such consent not to be unreasonably withheld. The Insurer shall not be liable for any admission,
               assumption. settlement. stipulation, or Defense Costs to which it has not consented.




  Policy Common Terms 8c Conditions § VII(A) (“The Insurer shall have the right and duty to
9


defend any Claim for which the Insureds give notice to the Insurer, even if such Claim is ground-
less, false or fraudulent. The Insurer may make any investigation it deems appropriate”); Am.
Physicians Ins. Exch. v. Garcia, 876 S.W.2d 842, 846 (Tex. 1994) (describing this policy provision
as giving insurance carrier control over the insured’s defense).

1°
     Policy Common Terms 8c Conditions § VII(C).



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                           deductible then $1 million eroding policy limits

          19.     The policy has a $75,000 deductible and a $1 million aggregate limit of liabil-

ity.” Defense costs are part of that $1 million limitzlz

                   DEFENSE COSTS

                   solely with respect to all Liablllty Coverage Parts:

                   (A) Defense Costs shall be part of. and not In addlllon to, each eppllceble Llmlt of Llebllity. Payment of
                       Defense cm       by the Insurer shall reduce each Limit of Liablllly.




Once the deductible is met, policy limits erode toward zero With every penny of litigation

costs and every dollar of attorneys’ fees.“



                                  employment practices liability coverage

          20.     At the time, the policy has a relatively high premium for such low aggregate

policy limits. The employment practices liability (“EPL”) coverage may partially explain

this. The EPL part of the policy covers what many other insurance policies do not“ — such

as punitive damages, intentional misconduct, failure to comply with implied employment


agreements, and failure to comply with oral employment agreements.



     Policy Declarations, Item 5: Liability Coverage Part Elections.
11




     Policy Common Terms 8c Conditions § VI(A).
12




13
     Id. 8c Policy Common Terms 8c Conditions § II(E).

  See, e.g, L.D. Simmons, II 8c Lowndes C. Quinlan, New Applemam on Insurance Law § 28.02[2] [g],
14


p. 28-22 (2015) (“Outside of the EPL market, insurance policies typically do not cover breach of
contract claims. ”).



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          21.    Most other types of insurance policies — such as commercial general liabil-

ity, auto, homeowners, errors and omissions, and directors and ofﬁcers liability — do not

cover these types of claims. But insurance companies developed and marketed EPL policies

to cover gaps in other types of insurance policies.”



                 duty to defend, duty to indemnify, and reservation of rights

          22.    Policy premiums pay for two overarching forms of EPL coverage: (1) defense

costs including attorneys’ fees, and (2) liability for damages, also called indemnity. As to

defense costs, Twin City owes the insureds a duty to defend. As to liability for damages,

Twin City owes the insureds a duty to indemnify.


          23.    In the earlier case, Twin City admits it has a duty to defend. After the de-

fendant insureds meet the $75,000 deductible, Twin City defends under a reservation of


rights on indemnity coverage. In the reservation of rights letter, Twin City wrongly claims

lack of coverage on even dirt simple coverage issues, showing a lack of reasonable insurer

conduct.



                            ABBREVIATED BACKGROUND: FACTS
                         TWIN CITY KNEW OR SHOULD HAVE KNOWN

          24.    What follows is factual information Twin City knew, or should have known,

at the time it rejected a reasonable settlement offer within policy limits.




     SeeJeffrey W. Stemple, Law oflmumnce Contract Disputes § 21.06, at 21—47 to 21—48.
15




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                                    nature of insureds’ business

         25.    The defendant insureds are in the affordable housing industry throughout

Texas and a few other states. They work together to (1) develop or acquire sites for afford-

able housing communities, (2) construct new affordable housing units, and (3) manage con-


tinuing operation of the affordable housing community properties.




                                                   16




                   decision to sell business, oral 3% pay-to-stay agreement

         26.     Brian and Cheryl Potashnik decide to sell their business. Brian — the highest-

level person over all business entities — promises lucrative additional pay to executive Jeff

Carpenter if Jeff will stay on to help make the asset sale happen. There will be a lot more

work, such as due diligence and working to retain other important employees in the interim



 Potter’s House at Primrose Senior Housing, photograph credit: www.apartment-
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guide.com/ apartments / Texas / Dallas / Potters-Honse-at-Primrose-Senior-Housing/ 156183 /



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before any asset sale happens. Other than the Potashniks, Jeff will be the most important


person to effectuate the sale and will often serve as the “face” of the companies.


        27.     Once a letter of intent to sell assets is signed, Brian offers Jeff 3% of net pro-

ceeds from the asset sale ifJeff will continue to stay on as long as needed to help make the

asset sale happen. The 3% is the total of: gross asset sale revenue to sellers, less normal


closing costs, less sales proceeds bonuses paid to other employees [latter pay-to—stay incen-

tives to be decided byJeff]. They estimate the 3% deal at just over $1 million. The agreement

is oral. They shake hands on the deal.



      28.       Jeff stays on as long as needed. He delays start at a new job to stay on. He
knows he will not have a job with the asset purchaser because the purchaser already has

someone in his position. An asset sale agreement goes forward. The anticipated asset sale


price is around $37 million. A separate agreement is signed to transfer asset management

to the purchaser — including management of the affordable housing community proper-

ties. At that point, Brian and Cheryl inform their executive Jeff that he has completed his

end of the bargain in staying on and is no longer needed.



                                 criminal investigation of owners
                                and importance of pay-to-stay deal

        29.     Before the decision to sell the business, the FBI raids the business and crim-

inally investigates Brian and Cheryl Potashnik. The Potashniks deny any criminal wrong-

doing. Employees including Jeff believe and trust them. Logically, preventing employee


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mass exodus due to the criminal investigation, coupled with the potential sale of the busi-


ness, is important to attracting buyers for any actual sale of the business. Logically, pre-

venting mass exodus of key employees like Jeff is even more important.


                 failure to comply with oral 3% deal and motive for doing so

         30.    Once Brian and Cheryl conﬁrm that Jeff kept his end of the bargain and will

no longer be needed or employed, they quickly back off the oral 3% deal. They’ve recently

been indicted on criminal charges. They’re concerned about the asset sale and whether


they will have enough money left over to fund their own criminal defense.




                                                                                    17




  Photograph credit of Brian and Cheryl outside federal courthouse: Paul O’Donnell, published in
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the The Dallas Morning News, March 19, 2012.



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        31.     Brian says to Jeff in part:

        Um, and as far as our agreement goes, Where we compensate you, as we
        promised, it’s gonna depend on where we end up in all of this.

                                                   ***

        I mean, I’m telling you that we’re, we’re going to dig ourselves out of this
        thing and then hopefully, you know, at the end of the day, get something out
        of it from Cascade [asset purchaser] and get the deal closed and pay the costs
        that we have to defend ourselves [in criminal proceedings] and have money
        left over so that we can, you know, give you a bonus,
                                                   ***

        I mean, you have Cheryl and I both committed to you that when things work
        themselves out that there will be a bonus if there’s anything there at the end
        of the day that we have where we can you know, actually give out bonuses
                                                   >l<   * >l<

        I mean, and, you know, it sucks because obviously, at this point, we thought
        we’d have everything closed and that we would have some money. Um, we
        didn’t think we would get, you know, would have been indicted. You know,
        I’ve been hearing for two years plus from Mike Uhl [criminal defense attor-
        ney] that you’re not gonna get indicted, don’t worry. They don ’t have a case.
        They don’t have a case. You know.
                                                   ***

        It’s a cluster fuck is what it is. And that’s the whole problem right now. We
        just have no idea Where this thing is going to uh, to settle out, you know. And
        I have the additional pressure, as does Cheryl on top of it, of not knowing
        Where we’re going to end up. You know, in our own lives personally and be-
        ing separated as a family, God forbid and you know, I mean, I just don’t uh, I
        don’t know What to tell you.
                                                   ***

        We’re, we’re just trying to pay bills — trying to stay out of prison. I mean,
        what more can I tell you?




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        32.       Cheryl also does not appear to know or care that Texas enforces oral agree-

ments and says to Jeff in part:

        You have conversations that we’ve had. You have intentions that we’ve had.
        You have what we intend to do and what we wanna do. You don’t have any
        rights.
                                                   ***

        So, you know, at the end of the day, you could not, you know, $37 million
        [asset sale price] goes like that. You know, it sounds like a lot of money, but
        on the business side and with all the contingent liability. You know, it’s scary.
                                                   >l<   * >l<

        You know it looked one wayJuly 15th or June 15th whenever, I don’t remem-
        ber the exact time frame. But, you know, anticipating another six months of
        overhead and all the obligations that go along with it um, you know, it really
        starts to eat away at what’s gonna be left.
                                                   >l< >l<   *

        You know, and then it was like when, when we got indicted all of a sudden it
        was like oh my God. (inaudible 8:19 — 8:30) But, you know, there’s just so
        much concern about what everybody’ s gonna do an how they’re gonna react.



                   lawsuit, insured defendants’ loss on summary judgment

        33.       During the earlier case, the defendant insureds ﬁled motions for summary

              — a total of at least 4 motions for
judgment                                                  summary judgment. They claimed there was

no evidence sufﬁcient for a jury to return a verdict in Jeff’s favor. The Court denied the

motions.



                      reasonable settlement oﬁ‘er Within policy limits,
                     Twin City rejection, and consequences for insureds

        34.       Twin City receives a reasonable settlement offer within policy limits. The

settlement offer is within coverage, within policy limits, and offers an unconditional and




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full release of all insureds on all claims. The defendant insureds request and instruct Twin

City to accept the offer.


          35.    Twin City also receives warnings about common mistakes in Stowers evalua-

tions, an extensive written coverage analysis showing that the oral handshake agreement

claim [among others] is clearly covered, and additional information.



          36.    After multiple extensions of time to consider the Stowers settlement offer,

Twin City rejects the Stowers settlement offer and offers nothing to resolve the case — z'.e.,

zero. The highest settlement offer from the defense through multiple pretrial mediations is


$100,000. The jury returns a verdict in favor of Jeff against four insureds for past earned

wages due under an oral agreement. The jurors refer to this as the 3% deal. After a bench

trial on attorneys’ fees, the trial court renders a judgment that now exceeds $2 million. The

defendant insureds appeal to the Fifth Court of Appeals and the Texas Supreme Court but

are not successful.



        37.      Twin City had the right under Texas law to seek a declaration on coverage

before the harm occurred“ — rejection of the Stowers offer and denial of coverage. The


purpose is to clarify the parties’ rights befbre harm occurs.” Twin City had about ﬁve years



18
     Tex. Civ. Prac. Rem. Code § 37.004(b) (“A contract may be construed either before or after
there has been a breach. ”).

19
  See Tex. Civ. Prac. Rem. Code § 37.008 (“The court may refuse to render or enter a declaratory
judgment or decree if the judgment or decree would not terminate the uncertainty or controversy


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to do so before the Stowers offer. It chose not to do so. It ignored coverage analysis provided

to it. It rejected a full-release settlement offer within policy limits. It instead exposed its

insureds to a multi—million—dollar ﬁnal judgment that was more than 3 times the settlement

offer. It chose to exhaust its policy limits on an unsuccessful defense rather than a full-

release settlement. Its policy limits are now zero. Its later conduct also shows lack of rea-


sonableness, intent, and motive.



                                    FIRST CLAIM FOR RELIEF:
                                  VIOLATION OF S TOWERS DUTY

        38.     The above allegations are incorporated herein.


        39.     Jeff has standing to bring this claim pursuant to a turnover order.


        40.     Twin City received and rejected a reasonable settlement offer, such that an

ordinarily prudent insurer would accept the settlement offer, considering the likelihood and

degree of the insureds’ potential exposure to a judgment higher than the policy limits.


        41.     The oral handshake agreement claim against the insureds [among others] was

within the scope of policy coverage.


        42.     The settlement offer was within policy limits and included a full release of all

insureds on all claims.




giving rise to the proceeding. ”).



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          43.    The insureds agreed to dismiss their counterclaims and instructed Twin City

to accept the settlement offer.



          44.    The jury verdict and judgment resulted in covered damages far higher than

policy limits.


          45.    This petition seeks all foreseeable damages to the insureds as a result of the

Stowers violation, including but limited to the amount of the judgment in excess of policy

limits.



                                          EQUITABLE RELIEF

          46.    Due to apparent systemic problems at Twin City, there is a reasonable likeli-

hood that Twin City practices will result in noncompliance with the Stowers duty in the

future. Twin City has not taken steps to show that it is unlikely to Violate the law in the

future.



                                         PUNITIVE DAMAGES

          47.    The harm Twin City caused to its insureds resulted from malice or gross neg-

ligence. Malice means a speciﬁc intent to cause substantial injury or harm to the insureds.

Gross negligence means an act or omission by Twin City:


          (1) which when Viewed objectively from the standpoint of Twin City at the
          time of its occurrence involves an extreme degree of risk, considering the
          probability and magnitude of the potential harm to others; and



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        (2) of which Twin City has actual, subjective awareness of the risk involved,
        but nevertheless proceeds with conscious indifference to the rights, safety,
        or welfare of others.



        48.     Twin City was actually aware that the foreseeable consequences of its con-

duct could or would probably result in extraordinary harm not ordinarily associated with

breach of contract or bad faith denial of an insurance claim — such as death, grievous phys-

ical injury, or ﬁnancial ruin.


                                      CONDITIONS PRECEDENT

        49.     All conditions precedent to ﬁling suit and to recovery on the asserted claims

have occurred, been performed, or been waived.



                                             JURY DEMAND
        50.     Jeff requests a jury trial on all issues triable of right or choice by a jury.


                                         N0 FEDERAL CLAIMS

        51.     Jeff does not assert any claim, cause of action, or request for relief under any
federal law in this original petition.



                                       REMEDIES REQUESTED

        52.     Texas Rule of Civil Procedure 47 requires an original petition to select among

speciﬁed ranges of potential relief. This original petition selects the range in Texas Rule of

Civil Procedure 47(c) (4). This range may change over time. Jeff is free to suggest more or



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less based on the evidence. The jury is free to ﬁnd more or less at trial based on the evi-

dence.



          53.   This is because the rule is just meant to identify any expedited actions and

the nature of the case at the time of ﬁling. The rule does not affect a party’s substantive


rights.


          54.   Jeff respectfully requests all appropriate legal and equitable remedies that

may be available to him, including:

          A.    judgment on the Stowers claim asserted herein;

          B.    upon a ﬁnding that Twin City violated the Stowers duty, appropriate injunc-
                tive relief prohibiting Twin City from engaging in the systemic insurance
                                                    — with the
                practices that led to the violation            speciﬁcs to be tailored to the
                systemic problems, deﬁciencies, and gaps that the evidence shows;

          C.    the following additional equitable relief as may be appropriate:


                (1) requiring Twin City to provide training and otherwise modify its insur-
                ance practices in a way that reduces the risk of future violations of the Stow-
                ers duty — with the speciﬁcs to be tailored to the problems, deﬁciencies,
                and gaps that the evidence shows;


                (2) ordering all non-monetary equitable relief that may be appropriate to
                remedy the harm from a Stowers violation;

          D.    all damages that the Stowers violation proximately caused;

          E.    punitive damages as may be appropriate under Texas law;

          F.    costs under the Texas Rules of Civil Procedure;

          G.    prejudgment interest as allowed by law;



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  Case 3:23-cv-00769-N Document 1-2 Filed 04/11/23                     Page 21 of 27 PageID 27



        H.      postjudgment interest as allowed by law.




                                                   Respectfully submitted,




                                                   /s/Amy Gibson

                                                   Amy E. Gibson
                                                   Texas Bar No. 00793801
                                                   amy@gw_vﬁrm.com

                                                   David L. Wiley
                                                   Texas Bar No. 24029901
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                                                   Gibson Wiley PLLC
                                                   1500 Jackson Street #109
                                                   Dallas, Texas 75201
                                                   T: (214) 522-2121
                                                   F: (214) 522-2126

                                                   A ttomeys for Jeﬁ Carpenter




ORIGINAL PETITION ANDJURY DEMAND — PAGE 21 0F 21
                                                                                                                  FILED
                                                                                                       4/3/2023 10:01 AM
                                                                                                      JOHN F. WARREN
     Case 3:23-cv-00769-N Document 1-2 Filed 04/11/23                 Page 22 of 27 PageID 28          COUNTY CLERK
                                                                                                      DALLAS COUNTY



                                     CAUSE NO. CC2301483C

JEFFREY W. CARPENTER                                §                     IN THE COUNTY COURT
                                                    §
V.                                                  §                         AT LAW NUMBER 3
                                                    §
TWIN CITY INSURANCE COMPANY                         §                  DALLAS COUNTY, TEXAS

                       TWIN CITY INSURANCE COMPANY’S
              ORIGINAL ANSWER TO PLAINTIFF’S ORIGINAL PETITION

         Twin City Fire Insurance Company (“Twin City”) ﬁles its answer to Jeffrey Carpenter’s

(“Carpenter”) Original Petition as follows:

                                          GENERAL DENIAL

         Twin City generally denies the allegations contained in Carpenter’s Original Petition as

permitted by Rule 92 of the Texas Rules of Civil Procedure and requires that Carpenter prove his

cause of action by a preponderance of the credible evidence. Twin City reserves its right to amend

its answer to raise all applicable afﬁrmative defenses.

                                                PRAYER

         Twin City requests that Carpenter take nothing by his suit, that it be awarded its taxable

costs of court, and that the Court grant such other relief to which it is justly entitled.

                                                Respectfully submitted,

                                                CHAMBERLAIN, HRDLICKA, WHITE,
                                                WILLIAMS & AUGHTRY

                                                By: /s/ Steven J. Knight
                                                    STEVEN J. KNIGHT
                                                    State Bar No. 24012975
                                                    Christine Kirchner
                                                    State Bar No. 00784403
                                                    1200 Smith Street, Suite 1400
                                                    Houston, Texas 77002
                                                    (713) 658-1818
  Case 3:23-cv-00769-N Document 1-2 Filed 04/11/23            Page 23 of 27 PageID 29




                               CERTIFICATE OF SERVICE
       A true copy of the foregoing has been served on all attorneys of record by electronic
services on April 3, 2023.

       GIBSON WILEY PLLC
       Amy E. Gibson
       amy@gwﬁrm.com
       David L. Wiley
       david@gwﬁrm.com
       1500 Jackson Street # 109
       Dallas, Texas 75201


                                                 /s/ Steven J. Knight
                                                 STEVEN J. KNIGHT
       Case 3:23-cv-00769-N Document 1-2 Filed 04/11/23     Page 24 of 27 PageID 30
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certificate of service that complies with all applicable rules.

Laura Ortiz on behalf of Steven Knight
Bar No. 24012975
laura.ortiz@chamberlainlaw.com
Envelope ID: 74254540
Filing Code Description: Ody - Original Answer
Filing Description:
Status as of 4/3/2023 10:49 AM CST

Associated Case Party: JEFFREYW.CARPENTER

Name            BarNumber   Email              TimestampSubmitted     Status
AMY E.G|BSON                AMY@GWF|RM.COM     4/3/2023 10:01:11 AM   SENT
DAVID L.WILEY               DAVID@GWF|RM.COM   4/3/2023 10:01:11 AM   SENT
                    DALLAS COUNTY
                     COUNTY CLERK
 JOHN F. WARREN
3/14/2023 12:04 PM




                                                                                                         THE STATE OF TEXAS                                                                                                ATTORNEY
                                                                                                                                                                                                                           CITATION
                                                                                                             CITATION                                                                                           ORIGINAL
                 Page 25 of 27 PageID 31




                                                                                                                                                                                                                         PETI TION AND JURY
                                                                                                          CAUSE NO. CC—23-01483-C                                                                                        DEMAND
                                                                                                        COUNTY COURT AT LAW NO. 3
                                                                                                                 Dallas County, Texas                                                                                 CC—23-01483-C
                                                                    TO:                                                                                                                                        m THE COUNTY COURT OF DALLAS
                                                                               TWIN CITY FIRE INSURANCE COMPANY                                                                                                     County Court at Law No. 3
                                                                               ITS REGISTERED AGENT CT CORPORATION SYSTEM                                                                                              Dallas County, Texas
                                                                               1999 BRYAN STREET SUITE 900
                                                                               DALLAS TX 75201                                                                                                                 JEFFREY W. CARPENTER, Plaintlﬂrs)
                                                                           “You have been sued. You may employ an
                                                                                                                          attorney. If you or your Attorn ey do not ﬁle a WRITTEN ANSWER with                                  VS.
                                                                           the clerk who issued this citation
                                                                                                               by 10:00 A.M. on the Monday next following the expiration of
                                                                           were served this citation and ORIGINAL PETITION AND                                                      twenty days aﬁer you
                                                                                                                                          JURY  DEM   AND,    a  defau lt judgment may be taken against          TWIN CITY FIRE INSURANCE
                 Case 3:23-cv-00769-N Document 1-2 Filed 04/11/23




                                                                           you. In addition to ﬁling a written answer with the   clerk, you may be requir ed to  make   initial disclo sures to the other          COMPANY, Defendant(s)
                                                                           parties of this suit. These disclosures generally must be made no later than 3O
                                                                           clerk. Find out more at TexasLawH                                                 days aﬁer you ﬁle     your   answer with the
                                                                                                                 eIp.org.” YOur answer should be    addre ssed  to the clerk  of                              SERVE:
                                                                           3 of Dallas County, Texas at the Court House                                                          Count   y Court at Law No.
                                                                                                                            of said County, 600 Commerce Street, Suite 101,                                      TWIN CITY FIRE INSURANCE
                                                                                                                                                                                  Dallas, Texas 75202.
                                                                                                                  JEFFREY W. CARPENTER                                                                                   COMPANY
                                                                                                                                                                                                                  ITS REGISTERED AGENT
                                                                                                                               Plaintijﬂs)                                                                       CT CORPORATION SYSTEM
                                                                                                                                                                                                                1999 BRYAN STREET SUITE 900
                                                                                                                                  VS.                                                                                 DALLAS TX 75201
                                                                                                        TWIN CITY FIRE INSURANCE COMPANY
                                                                                                                           Defendant(s)
                                                                                                                                                                                                                          ISSUED THIS
                                                                                                                                                                                                                 10TH DAY 0F MARCH, 2023
                                                                          Filed in said Court on the 9th day of March, 2023, a
                                                                                                                                    copy of which accompanies this citation.                                  JOHN F. WARREN, COUNTY CLERK
                                                                          WITNESS: JOHN F. WARREN, Clerk of the Count Courts of Dallas                                                                           BY: ALICIA MATA, DEPUTY
                                                                                                                        y
                                                                          HAND AND SEAL OF OFFICE, at Dallas, Texas and issued             County, Texas. GIVEN UNDER MY
                                                                                                                   ,           this 10th day of March, 2023 A.D.                                                     Attorney for Plaintiff
                                                                          JOHN F. WARREN, Dallas County Clerk                                                                                                          AMY E GIBSON
                                                                                                                                                                                                                    GIBSON WILEY PLLC
                                                                                                                                                                                                                        1500 JACKSON ST
                                                                                                                                                       TY C05                                                               SUITE 109
                                                                          By
                                                                                                                                                                                                                       DALLAS TX 75201
                                                                                                                               , Deputy                                                                                   214-522—2121
                                                                                   Alicia Mata                             i
                                                                                                                                                                                                                 NO OFFIGR’S FEES HAVE BEN
                                                                                                                                                 ENAm;“
                                                                                                                                                                                                              COLLECTED BY DALUE COUNTY CLERK
Case 3:23-cv-00769-N Document 1-2 Filed 04/11/23                 Page 26 of 27 PageID 32


                                        RETURN OF SERVICE


        Came to hand on the 10‘“
                                 day of March, 2023 at 05:00 o’clock P.M., and
 executed in Dallas Cou
                        nty, Texas, by delivering to the within named Defenda to-W
                                                                             nt,  it:
                           'IVvin City Fire Insurance
                                                      Company
              by delivering to its registered agent, CT Corporat
                                                                 ion System,
                             by delivering to George Martinez
                   @ 1999 Bryan Street, Suite 900, Dallas, TX 75201
                             on March l3, 2023 at 11:20 A.M.

 in person, a true copy of this Citation in Case
                                                   No. CC—23—01483-C with the date of
 delivery marked thereon and a copy of the Plaintiff’s
                                                       Original Petition attached thereto.

 FEES:

Serving                 $ 85.00
                                                                                    6/30/23
Mileage                 $ 00.00                             Authorized erson
TOTAL                   $85.00   ____
                                          ScottW.Hickman PPS#SCH000000616
                                                           Printed Name



       On this day personally appe
                                    ared Scott W. Hickman known to me to be the
Whose name is subscribed on the                                                     person
                                  foregoing instrument and who has stated under oath that
he executed the Citation in the above num
                                          bered cause, pursuant to the Texas Rules of
Procedure.                                                                            Civil


       Subscribed and sworn to before me on the 13‘“
                                                         day of March, 2023.



                 Marcy Arﬂaga
              My Commission Expires
                   5/27I2026                   Notary Public in and f   e State   f Texas
                   Nola ID
                  12983 244
       Case 3:23-cv-00769-N Document 1-2 Filed 04/11/23     Page 27 of 27 PageID 33
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Envelope ID: 73640873
Filing Code Description: Ody - Return Of Service
Filing Description: .TWIN CITY FIRE INSURANCE COMPANY
Status as of 3/14/2023 2:57 PM CST

Associated Case Party: JEFFREYW.CARPENTER

Name            BarNumber   Email              TimestampSubmitted      Status
AMY E.G|BSON                AMY@GWFIRM.COM     3/14/2023 12:04:37 PM   SENT
DAVID L.WILEY               DAVID@GWF|RM.COM   3/14/2023 12:04:37 PM   SENT
